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CERTIFICATE OF SERVICE

I, Thomas F. Driscoll III, Esquire, certify that I am not less than 18 years of age,
and that service of the foregoing Debtors’ Supplemental Motion For Entry Of An Order
Clarifying Relief Granted Pursuant To Sections 105(a) And 363(b) Of The Bankruptcy
Code Authorizing Debtors To Honor Prepetition Obligations To Their Customers [D.I. 49]
was caused to be made on January 29, 2009, in the manner indicated upon the entities identified on
the attached service list.

Dated: January 29, 2009 BADD: {>

Thomas F, Driscoll HI (No. 4703)

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